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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

The Boiling Point, Inc.
                                  Plaintiff,
v.                                                      Case No.: 1:18−cv−03632
                                                        Honorable Ruben Castillo
Nan Luo, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 26, 2018:


        MINUTE entry before the Honorable Ruben Castillo: Plaintiff's motion for
temporary restraining order [6] is entered and continued generally to allow the parties to
try and resolve this lawsuit. The Court will hold a status hearing in open court on
7/11/2018 at 9:45 a.m. The motion hearing set for 6/26/2018 is stricken.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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